                     Case 2:07-cr-00061-MHT-WC Document 233 Filed 01/29/08 Page 1 of 6
 A0 245B (Rev. 06/05) Judgment in a Criminal Case
            Sheet 1


                                      UNITED STATES DISTRICT COURT
                       MIDDLE                                    District of                                 ALABAMA

         UNiTED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                    V.
                                                                          Case Number:                      2:07cr61-004-MHT
       AK1NNWI OMOLADE AKINYEMI                                                                                 (WO)

                                                                          USM Number:                       12280-002

                                                                          James R. Cooper, Jr.
                                                                          Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)      ls and 2s of the Felony Information on October 29, 2007

opleaded nob contendere to count(s) __________________________________________________________________________________
  which was accepted by the court.
owas found guilty on count(s) ________________________________________________________________________________
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Offense                                                           Offense Ended               Count
18 Usc 1505                     Obstruction of Federal Proceedings                                          9/11/2007                      is
18 Usc i 703                    Tampering with Mail                                                         9/11/2007                       2s




       The defendant is sentenced as provided in pages 2 through                          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
oThe defendant has been found not guilty on count(s)            _____________________________________________________________

X Count(s) 1, 5, and 6 of the Indictment                 0 is X are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are filly paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           January 24. 2008
                                                                           Date of Imposition of Judgment




                                                                           MYRON H. THOMPSON. U.S. DISTRICT JUDGE
                                                                           Name and Title of Judge



                                                                           Date
                       Case 2:07-cr-00061-MHT-WC Document 233 Filed 01/29/08 Page 2 of 6
AO 245B     (Rev. 06/05) Judgment in Criminal Case
            Sheet 2— Imprisonment
                                                                                                   Judgment - Page     2   of   6

DEFENDANT:                     AKINNIYI OMOLADE AKINYEMI
CASE NUMBER:                   2:07cr61-004-MHT


                                                          IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

 15 Months. This term consists of 15 months on Count is and 12 months on Count 2s, all such terms to run concurrently.



     DThe court makes the following recommendations to the Bureau of Prisons:




     XThe defendant is remanded to the custody of the United States Marshal.

     DThe defendant shall surrender to the United States Marshal for this district:
          oat ____________________ 0 a.m. 0 p.m. on _____________________________

          o as notified by the United States Marshal.

      DThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          Obefore 2 p.m. on ____________________________
          o as notified by the United States Marshal.
          O as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




          Defendantdelivered on ______________________________________ to

 at__________________________________ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                        By
                                                                                             DEPUTY UNITED STATES MARSHAL
                       Case 2:07-cr-00061-MHT-WC Document 233 Filed 01/29/08 Page 3 of 6
AO 245B     (Rev. 06/05) Judgment in a Criminal Case
            Sheet 3— Supervised Release
                                                                                                           Judgment—Page       3    of         6
DEFENDANT:     AKINN1YI OMOLADE AK1NYEMI
CASE NUMBER: 2:07cr61-004-MHT
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

 3 Years. This term consists of 3 years on Count Is and 1 year on Count 2s such terms to run concurrently.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 [J The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
 X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 [] The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
      student, as directed by the probation officer. (Check, if applicable.)
 EJ The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the pennission of the court or probation officer;
   2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
                    Case 2:07-cr-00061-MHT-WC Document 233 Filed 01/29/08 Page 4 of 6
A0 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                             Judgment—Page     4    of          6
DEFENDANT:     AK1NNIYI OMOLADE AKINYEMI
CASE NUMBER: 2:07cr61-004-MHT

                                         SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall provide the probation officer any requested financial information.
2. The defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.
3. The defendant shall submit to a search of his person, residence, office, and vehicle pursuant to the search policy of this
court.
4. In light of the defendant's illegal status, upon completion of the term of imprisonment, the defendant shall be remanded to
the custody of the Bureau of Immigration and Customs Enforcement for deportation proceedings in accordance with the
Immigration and Nationality Act. If deported, (a) the term of supervision shall be non-reporting while he lives outside the
United States; (b) the defendant shall not illegally reenter the United States; and ( c) if the defendant should reenter the
United States during the term of supervised release he shall report to the nearest United States Probation Office within 72
hours of arrival.
                      Case 2:07-cr-00061-MHT-WC Document 233 Filed 01/29/08 Page 5 of 6
AO 245B (Rev. 06/05) Judgment in a Criminal Case
           Sheet 5—Criminal Monetary Penalties
                                                                                                    Judgment - Page     5       of        6
 DEFENDANT:                       AKINN1YI OMOLADE AKINYEMI
 CASE NUMBER:                     2:07cr61-004-MHT
                                             CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                       Fine                               Restitution
 TOTALS            $ 125                                           $                                    $ 1,833.20


 o The determination of restitution is deferred until ______. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 X The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 US.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                               Total Loss*                      Restitution Ordered                     Priority or Percentage
 GAP Incorporated Direct                                                           $1,833.20
 Loss Prevention Dept.
 5900 North Meadows Drive
 Grove City, Ohio 43123




 TOTALS                             $                          0          $                     1833.20


 0 Restitution amount ordered pursuant to plea agreement $

 O The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
   fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
   to penalties for delinquency and default, pursuant to 18 U. S.C. § 3612(g).

 X The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       X the interest requirement is waived for the 0 fine X restitution.
       0 the interest requirement for the 0 fine 0 restitution is modified as follows:



 * Findings for the total amount of losses are required under Chapters 1 09A, 110, 1 bA, and 11 3A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                      Case 2:07-cr-00061-MHT-WC Document 233 Filed 01/29/08 Page 6 of 6
AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6— Schedule of Payments
                                                                                                         Judgment - Page      6     of        6
DEFENDANT:                   AKINNIYI OMOLADE AK1NYEMI
CASE NUMBER:                 2:07cr61-004-MHT

                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A X Lump sum payment of $ 1,958.20                          due immediately, balance due

           Dnot later than _________________________ , or
           o in accordance        D C,       D, 0 E, or 0 F below; or

 B X Payment to begin immediately (may be combined with 0 C,                         0 D, or X F below); or

 C 0 Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
        ___________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

 D D Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
        ___________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
         term of supervision; or
 E 0 Payment during the term of supervised release will commence within ___________ (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F X Special instructions regarding the payment of criminal monetary penalties:
           All criminal monetary penalty payments shall be made to the Clerk, United States District Court, Middle District of Alabama Post
           Office Box 711, Montgomery, AL 36101. Any balance remaining at the start of supervision shall be paid at the rate not less than
           of $100 per month.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 0 Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 0 The defendant shall pay the cost of prosecution.

 0 The defendant shall pay the following court cost(s):

 0 The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
